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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF COLORADO


NASSOU CISSE,                                                 Civil Case Number:

                     Plaintiff,
                                                                CIVIL ACTION
              -v-
                                                             COMPLAINT
EQUIFAX INFORMATION SERVICES,                                   AND
LLC,                                                    DEMAND FOR JURY TRIAL

                     Defendant.



                                     INTRODUCTION

   1. Plaintiff, Nassou Cisse, a Colorado resident, brings this action under the Fair Credit

      Reporting Act, 15 U.S.C. § 1681, et seq. (the “FCRA”) alleging that one of the largest

      consumer credit reporting agencies, Equifax (“CRA”), failed to follow reasonable

      procedures to ensure maximum accuracy of credit reports it prepared concerning

      Plaintiff and failed to investigate credit report inaccuracies in response to Plaintiff’s

      disputes.

   2. Plaintiff seeks statutory, actual, and punitive damages, along with injunctive and

      declaratory relief, and attorneys’ fees and costs.

                                       JURISDICTION

   3. The Court has jurisdiction over this action under 28 U.S.C. § 1331, 15 U.S.C. § 1681, et

      seq., and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction over

      the state law claims in this action pursuant to 28 U.S.C. § 1367(a).

   4. Defendant regularly conducts business within the state of Colorado and violated

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      Plaintiff’s rights under the FCRA in the state of Colorado as alleged more fully below.

   5. Venue is proper this district under 28 U.S.C. 1391(b) because Plaintiff resides in this

      district, Defendant conducts business in this district, and communications giving rise to

      this action occurred in this district.

                                           PARTIES

   6. Plaintiff, Nassou Cisse (“Plaintiff”), is a resident of Arapahoe County in the State of

      Colorado and is a “consumer” as that term is defined by 15 U.S.C. § 1681a(c).

   7. Defendant Equifax Information Services, LLC is one of the largest credit reporting

      agencies in the United States and is engaged in the business of assembling and

      disseminating credit reports concerning hundreds of millions of consumers. Equifax is a

      “consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) of the FCRA, and is

      regularly engaged in the business of assembling, evaluating, and dispersing information

      concerning consumers for the purpose of furnishing consumer reports, as defined in 15

      U.S.C. § 1681a(d)(1) of the FCRA, to third parties.

   8. Equifax’s principal place of business is 1550 Peach Tree Street, N.W., Atlanta, GA

      30309.

                                FACTUAL ALLEGATIONS

   9. Sometime in April of 2021, Plaintiff noticed that Equifax was reporting a FEDLOAN

      tradeline on her credit report with a zero balance and a current payment status of 90-119

      Days Past Due.

   10. The reporting of an account that has been closed or transferred with a zero balance and

      a late payment status is inconsistent with the industry standard.

   11. The payment status field is specifically designed to be understood as the current status
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      of the account. As such, the credit scoring algorithms specifically take this data field

      into account when calculating and generating a credit score.

   12. This reporting was materially misleading because it conveyed that Plaintiff was currently

      delinquent on payments when that was not the case.

   13. As a result, Plaintiff’s credit score is negatively impacted because the credit report is

      being interpreted to mean that Plaintiff is currently late, despite the fact that they have a

      zero balance and zero monthly obligations.

   14. A lower credit score hurts consumer’s creditworthiness because lenders have different

      tiers of risk, and a consumer with a lower credit score will often be placed into a lower

      tier. This can cause consumers, like the Plaintiff to be denied credit or to receive credit

      at a more expensive cost.

   15. Plaintiff, realizing the inherent contradiction of being marked late while no balances

      existed, sent dispute letters on or around April 15, 2021, directly to Defendant Equifax.

      In her dispute letter Plaintiff noted the inconsistency, requested that an investigation be

      conducted, and that the inaccurate information be updated.

   16. Upon receipt of the dispute letter, the credit bureau Equifax notified the Furnisher of

      Plaintiff’s dispute.

   17. Instead of conducting a reasonable investigation, the Defendant verified the account as

      accurate and has continued to report the negative information, causing the Plaintiff harm.

   18. Plaintiff has been forced to deal with the aggravation, humiliation, and embarrassment

      of a lower credit score, as a result of Defendants’ conduct.

   19. At all times pertinent hereto, Equifax’s conduct was willful, and carried out in reckless

      disregard for a consumer’s rights as set forth under section 1681s and 1681i of the

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      FCRA.

                                COUNT I
              VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                              15 U.S.C. § 1681i
                             AGAINST EQUIFAX

   20. All preceding paragraphs are realleged.

   21. At all times pertinent hereto, Equifax was a “consumer reporting agency” (“CRA”) as that

      term is defined by 15 U.S.C. § 1681a(c).

   22. The FCRA provides that if a CRA conducts an investigation of disputed information and

      confirms that the information is, in fact, inaccurate, or is unable to verify the accuracy of

      the disputed information, the CRA is required to delete that information from the

      consumer’s file. See 15 U.S.C. § 1681i(a)(5)(A).

   23. Plaintiff initiated disputes with Equifax requesting that it correct specific items in her

      credit file that are patently inaccurate and damaging to her.

   24. Equifax, after either conducting no investigation or failing to conduct a reasonable

      investigation, verified the inaccurate item on her credit file, something that any basic

      investigation would have prevented.

   25. As a direct and proximate result of Defendant Equifax’s willful and/or negligent refusal

      to conduct a reasonable investigation as mandated by the FCRA, Plaintiff has been

      harmed, as explained above.

                               COUNT II
            FAILURE TO ASSURE MAXIMUM POSSIBLE ACCURACY
                            15 U.S.C. § 1681e(b)
                           AGAINST EQUIFAX

   26. All preceding paragraphs are realleged.

   27. Section 1681e(b) of the FCRA requires that, “Whenever a consumer reporting agency

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        prepares a consumer report it shall follow reasonable procedures to assure maximum

        possible accuracy of the information concerning the individual about whom the report

        relates.”

    28. Were Equifax to follow procedures to assure maximum possible accuracy of the credit

        report it prepares concerning Plaintiff; it would have removed the inaccurate information

        being reported on the Plaintiff’s credit report.

    29. As a direct and proximate result of Equifax’s willful and/or negligent failure to follow

        procedures to assure maximum possible accuracy of the information it reports, Plaintiff

        has been harmed, as explained above.

                               DEMAND FOR TRIAL BY JURY

    30. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

        trial by jury on all issues so triable.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff demand judgment against Defendant a follows:

   A. Awarding Plaintiff actual damages;

   B. Awarding Plaintiff statutory damages;

   C. Awarding Plaintiff punitive damages;

   D. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees and expenses;

   E. Awarding pre-judgment interest and post-judgment interest;

   F. A declaration that Defendant’s conduct alleged herein is unlawful, as set forth more fully

      above;

   G. Equitable relief, enjoining Defendant from engaging in the unjust and unlawful conduct

      alleged herein; and

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   H. Awarding Plaintiff such other and further relief as this Court may deem just and proper.


Dated: November 16, 2021
                                            By:     /s/ Yitzchak Zelman

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